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DPR MODIFIED AO 440 (Rev. 06/12) Summons in a Civil Action
UNITED STATES DISTRICT COURT
for the

District of Puerto cho

IV||GUEL RODRIGUEZ SEVERINO

Plaint‘z_`;j”(s)
V.

 

can Acaon NO. 17-02227(FAB)

TITLE V|| RETAL|AT|ON; USERRA D|SCF
UTC AEROSPACE SYSTE|V|S

E'efendcmt(.s)

 

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SUMMONS IN A CIVIL ACTION

TOZ (Defendnnt ’s name and nddress)
UTC AEROSPACE SYSTE|V|S

FEL|C|A |NDUSTR|AL PARK STREET B LOT 14 SANTA |SABEL, PR 00757

A lawsuit has been filed against yon.

Within 21 days after service of this summons on you (not counting the day you received it) g or 60 days if you
are the United States or a United States agenoy, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(Z) or (3) j or 90 days in a Social Security Aotion j you must Serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the F ederal Rules of Civil Procednre. The answer or motion must be served on
the plaintiff or plaintift`s attomey, whose name and address are:

Juan l\/|. Frorne.“=:.=q an., Frontera Suau Law Offices, PSC

239 A|teria| Hostos AvenueSan Juan, Puerto Rico 00936-4225, Suite 305 Te| 787-250-1420

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.

FRANCES RIOS DE MORAN, ESQ.
CLERK OF COURT

' Rafae! O.Martinez
2018.03.09 l4:l 7:01 -04'00'

 

03/09/2018

 

Date: _
S.!'gnattrr'e ofClerk or Depnty C[erk

CaSQ:§§J§Y?Q€\ZBZze$-E’FA§O%H?M%& sEIECrLtPédQ)%//b%n§a@%deoi 3d 2

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Civil Action No.

 

PROOF OF SERVICE
(Thr°s section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

 

This summons for( ' d' 'd l dart , ' . .
nnmeofnz zvz un nn e tfany) u+C authoqu : _S;/§j¢-(,__H_S

was received by me on (da:e) W/@;. vi -2” f go § 3 .

f:] Ipersonally served the summons on the individual at @;lace)

 

on (dare) ; or

 

l:l I left the summons at the individual’s residence or usual place of abode with (ncrme)

, a person of suitable age and discretion who resides there,

 

011 (€l¢lf€) , and mailed a copy to the individual’s last known address; or
M}/MW` yej"'?' aka , Df.lu'_-/~M»c _
l§/I' served the summons on (name ofindtvz'dual) 047 GQL& w,,__§ 93 /7£'/ 51 wis , who is

 

designated by law to accept service of process on behalf of (name ofarganizmion) vic a Q_}_o§ EAC;L _§"! :S~?J-| ky

/'2//¢¢"»_ .Zvalvs#/W <VM€, S+)z.&)$ tail 011 ama /Van-A az zp/)_'_ ;or ”
/ % S»M~%< fmha , d’¢?,

I returned the summons unexecuted because ; or

 

|:| Oth€t' (spee{)jz).'

 

 

My fees are $ for travel and $ for services, for a total of 3

I declare under penalty of perjury that this information is true.

Date: hawaii 1120 /5 W

    

Prr‘nted name and title

 

72://% aaa fagg

Sewer’s address

Additional information regarding attempted service, eto:

 

